                    UNITED STATES DISTRICT COURT
                         DISTRICT OF IDAHO
                 U.S. MAGISTRATE JUDGE MINUTE ENTRY

(X) Preliminary Hearing WAIVED
(X) Detention Hearing GOVERNMENT WITHDREW MOTION

MAGISTRATE JUDGE: Raymond E. Patricco                        DATE: June 22, 2021
DEPUTY CLERK/ESR: Jackie Hildebrand                          TIME: 11:00 – 11:10 a.m.
                                                             Boise, ID

            UNITED STATES OF AMERICA vs. CHAD JOSEPH LONGLEY
                             1:21-mj-00566-REP

Counsel for: United States (AUSA): David Robins
             Defendant: Thad Blank, Federal Defender
             Probation: Gavin Zickefoose

The Court reviewed the prior proceedings in this matter.

Preliminary hearing

Defendant Waived preliminary hearing. Signed waiver filed with the Court.

Detention hearing

The Government withdrew their Motion for Detention and agree to the Conditions outlined in the
pretrial services report.

Counsel did not have any further conditions to add to the outlined conditions in the pretrial
services report.

Order Setting Conditions of Release reviewed with the defendant and the Order was entered by
the Court.

Defendant released to the USMS and may be released after processing.
